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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

ABLE HOME HEALTH, LLC,                              )
on behalf of plaintiff and                          )
the class members defined herein,                   )
                                                    )
               Plaintiff,                           )       16 C 4461
                                                    )
               v.                                   )       Judge Der-Yeghiayan
                                                    )       Magistrate Judge Cox
CASHLESS PAYMENTS, INC.,                            )
and JOHN DOES 1-10,                                 )
                                                    )
               Defendants.                          )

                                STIPULATION TO DISMISS

       Now Come the Parties by and through their respective attorneys, and pursuant to Fed. R.

Civ. P. 41(a), hereby stipulate to the dismissal of Plaintiff Able Home Health, LLC’s individual

claims against Defendant Cashless Payments, Inc. with prejudice and without costs. Plaintiff

Able Home Health, LLC’s putative class claims against Defendant Cashless Payments, Inc. are

dismissed without prejudice and without costs. Plaintiff Able Home Health, LLC’s claims

against John Does 1-10 are dismissed without prejudice and without costs.


Respectfully submitted,


s/ Heather Kolbus                                   s/ Chris D. Rouskey (w/ consent)
Daniel A. Edelman                                   Chris D. Rouskey
Heather Kolbus                                      ROUSKEY AND BALDACCI
EDELMAN, COMBS, LATTURNER                           2121 Oneida Street, Suite 401
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                                CERTIFICATE OF SERVICE

        I, Heather Kolbus, certify that on March 20, 2017, I caused a true and accurate copy of
the foregoing document to be filed with the Court’s CM/ECF system, which will send a
notification of such filing to the following parties:

       Chris D. Rouskey (rouskeylaw@gmail.com)
       Jeffrey C. Baldacci (rouskeylaw@gmail.com)
       Robert J. Welz (rouskeylaw@gmail.com)
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                                                    s/ Heather Kolbus
                                                    Heather Kolbus




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